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5

6                            UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
7                                  EASTERN DIVISION
8    TIMOTHY MITCHELL BUTERBAUGH, )                      CASE NO.: EDCV20-01520-AFM
                                     )
9                     Plaintiff,     )                   [PROPOSED] ORDER AWARDING
                                     )                   EAJA FEES
10               v.                  )
                                     )
11
     KILOLO KIJAKAZI1, Acting        )
     Commissioner of Social Security )
12
     Administration,                 )
                                     )
13
                      Defendant.     )
     ______________________________ )
14

15          Based upon the parties’ Stipulation for Award and Payment of Equal Access
16   to Justice Act (EAJA) Fees (“Stipulation”),
17          IT IS ORDERED that Plaintiff shall be awarded attorney fees under the
18   Equal Access to Justice Act, ("EAJA”) in the amount of FOUR THOUSAND
19   TWO HUNDRED FIFTY-NINE DOLLARS and 00/cents ($4,259.00), as
20   authorized by 28 U.S.C. § 2412 (d), and subject to the terms and conditions of the
21   Stipulation.
                                       __________________________________
22                                       HONORABLE ALEXANDER F. MacKINNON
     Date: 11/3/2021                       UNITED STATES MAGISTRATE JUDGE
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26                  1
                      Kilolo Kijakazi is now the Acting Commissioner of the Social Security
     Administration. Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo Kijakazi
27   should be substituted for Commissioner Andrew M. Saul as the defendant in this suit. No further
     action needs to be taken to continue this suit by reason of the last sentence of section 205(g) of
28   the Social Security Act, 42 U.S.C. § 405(g).
